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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                            CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG


                                      ORDER

      This cause came before the Court during court proceedings held October 18,

2021, on Defendant’s Second Unopposed Motion to Continue Sentencing Until

March 2022 (Doc. 121). At the hearing, the Government joined the motion.

      Upon consideration of the argument presented by counsel for the parties in

support of the motion, the Court finds that good cause exists to continue the

hearing and that the continuance does not present unnecessary delay. Fed. R.

Crim. P. 32(b)(1) & (2). Therefore, it is

      ORDERED that the motion is GRANTED. Counsel and chambers staff
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will confer and a date certain for the sentencing hearing will be set and noticed at

a future time.

      DONE and ORDERED in Orlando, Florida on October 18, 2021.




Copies furnished to:

United States Marshal
United States Attorney
United States Probation Office
United States Pretrial Services Office
Counsel for Defendant




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